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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

 IN THE MATTER OF:                                       CASE NO.: 18-24148-LMI
                                                         CHAPTER 13
 Fidel Flamini

                                    Debtor

  EXPEDITED MOTION TO TRANSFER OWNERSHIP OF PRIMARY RESIDENCE FROM
DEBTOR TO AN ENTITY OWNED BY DEBTOR AND EMERGENCY HEARING REQUESTED
   (Basis for emergency: Debtor has a conditional loan approval which requires Court
                approval to transfer ownership of his primary residence.)

       COMES NOW, the Debtor, Fidel Flamini, by and though his undersigned
counsel, moves this Court for an Order Granting his Motion to Transfer Ownership of
Primary Residence to an Entity Owned by Debtor a and in support would state as
follows:
       1.       On November 14, 2018, the Debtor filed a petition for relief under
Chapter 13 of the Bankruptcy Code.
       2.       On August 9, 2019, an Order Confirming Debtor’s Eighth Amended Plan
was entered, [ECF 94]. Debtor was denied a loan modification and the confirmed plan
cures the mortgage arrears.
       3.       Debtor is seeking a refinance his mortgage in order to reduce his
monthly mortgage obligation. Due to the Debtor being in bankruptcy, lenders are
hesitant to refinance the Debtor personally, and as an underwriting condition, lenders
are requiring the property ownership to be transferred to a corporation owned by
the Debtor.
       4.       The Debtor has agreed to pay $525.00 through the bankruptcy plan for
the filing of this Motion.
       WHEREFORE, the Debtor, Fidel Flamini, prays that this Honorable Court grant
the Motion to transfer ownership of Debtor’s primary residence to an entity owned
by the Debtor and for any other relief this Honorable Court deems just and proper.




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                              CERTIFICATION OF LOCAL RULE 9075-I
       Debtor has a conditional loan approval which requires Court authorization to
transfer ownership. The loan underwriter has advised that time is of the essence in
Debtor securing authorization to transfer ownership.

       Dated this 4th day of December 2019.




                                                           Submitted by:
                                                           /s/ Rachamin Cohen
                                                           Rachamin “Rocky” Cohen, Esq.
                                                           Attorney for Debtor
                                                           Florida Bar No. 96305
                                                           Cohen Legal Services, PA
                                                           12 SE 7th Street, Suite 805
                                                           Fort Lauderdale, FL 33301
                                                           Telephone: 305-570-2326
                                                           Email: rocky@lawcls.com

                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been
forwarded by CM/ECF to Nancy Neidich, Trustee, and all parties on the attached list,
this 4th day of December 2019.
       I HEREBY CERTIFY that I am admitted to the Bar of the United States District
Court for the Southern District of Florida and am in compliance with the additional
qualifications to practice in this Court set forth in Local Rule 2090-1(A).


                                                        Submitted by:
                                                        /s/ Rachamin Cohen
                                                        Rachamin “Rocky” Cohen, Esq.
                                                        Attorney for Debtor
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